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AO 450 Judgment in a Civil Case r


                        UNITED STATES DISTRICT COURT

                              *****        DISTRICT OF       NEVADA

SHAWN VAN ASDALE and
LENA VAN ASDALE,
                                                                   AMENDED
                Plaintiffs,                         JUDGMENT IN A CIVIL CASE
        V.
                                                     CASE NUMBER: 3:04-cv-00703-RAM

INTERNATIONAL GAME TECHNOLOGY,

                Defendant.


X       Jury Verdict. This action came before the Court for a trial by jury with Robert A. McQuaid, Jr.,
        United States Magistrate Judge presiding. The issues have been tried and the jury has rendered
        its verdict.

       JUDGMENT: the plaintiff, Shawn Van Asdale, recover from the defendant, International Game
Technology, $955,597.00, in actual damages; the plaintiff, Lena Van Asdale, recover from the
defendant, International Game Technology, $1,270,303.00, in actual damages.

        IT IS FURTHER ORDERED the Plaintiffs' Motion for Attorneys' Fees, Costs, and
Prejudgment Interest (Doc. #323-327) is GRANTED. The total amount of attorneys' fees awarded is
$1,009,620.00. The total amount of costs awarded is $131,953.94. The total amount of prejudgment
interest awarded is $1,275,766.50 ($552,418.62 to Shawn Van Asdale and $723,347.90 to Lena Van
Asdale).



          May 27, 2011                                       LANCE S. WILSON
                                                                 Clerk


                                                              /s/ Katie Lynn Ogden
                                                                    Deputy Clerk
